
Upon consideration of the Joint Petition for Disbarment by Consent filed herein pursuant to Maryland Rule 19-736 and Respondents acknowledgement therein that sufficient evidence exists to sustain allegations that he committed professional misconduct in violation of Rules 8.4(b)(c) &amp; (d) of the Maryland Lawyers? Rules of Professional Conduct in effect at the time of the misconduct, it is this 12th day of October, 2017,
ORDERED, that John Thomas Burch, Jr., Respondent, is hereby disbarred by consent from the practice of law in this State, effective immediately; and it is further
ORDERED, that the Clerk of this Court shall strike the name of John Thomas Burch, Jr. from the register of attorneys in this Court, notify Respondent of the filing of this order in accordance with Maryland Rule 19-742(a)(1), and comply with the notice provisions set forth in Maryland Rule 19-761(b).
